      Case 2:11-cr-00108-EFS    ECF No. 579   filed 01/11/13   PageID.2380 Page 1 of 2




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 5                        UNITED STATES DISTRICT COURT
 6                      FOR THE DISTRICT OF WASHINGTON
 7
 8 UNITED STATES OF AMERICA,                    No. CR-11-108-EFS-2

 9                     Plaintiff,               ORDER GRANTING UNOPPOSED
10                                              MOTIONS TO EXPEDITE AND
     vs.                                        TO MODIFY
11
12 BRENT T. JOHNSON,
13
                       Defendant.
14
15         Before the court is Defendant’s Agreed Motion to Modify Detention Order,
16   ECF No. 572, and Motion to Expedite. The court having reviewed the reasons for
17   the request,
18         IT IS ORDERED, for good cause shown, that the Agreed Motion to
19   Modify Detention Order, ECF No. 572, is GRANTED.               Defendant may be
20   temporarily employed in Fresco, California as set forth in the unopposed Motion.
21   He shall abide by all previously set conditions of release, and shall regularly
22   participate in random drug testing (to be confirmed by Pretrial Services) when
23   working outside the District. The Motion to Expedite, ECF No. 573, is
24   GRANTED.
25         DATED January 11, 2013.
26
                             S/ CYNTHIA IMBROGNO
27
                       UNITED STATES MAGISTRATE JUDGE
28



     ORDER - 1
     Case 2:11-cr-00108-EFS   ECF No. 579   filed 01/11/13   PageID.2381 Page 2 of 2




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     ORDER - 2
